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            CONFIDENTIAL SETTLEMENT AGREEMENT AND RELEASE,

       This Settlement Agreement and Release ("Agreement"), is made between GFII DVI
Cardel Wood Dale, LLC dlbla Courtyard Marriott Wood Dale and Driftwood Hospitality
Management, LLC (collectively, "Defendants"), Josefina Rodriguez and Angelina Rubio
("Plaintiffs"). IT IS HEREBY MUTUALLY AGREED BETWEEN THE PARTIES AS
FOLLOWS:

        WHEREAS an September 21,2017, Plaintiff Rodriguez filed a complaint known as
Josefina Rodriguez v. GFII DVI Cardel Wood Dale, LLC d/b/a Courtyard Marriott Wood Dale
and Drifnuood Hospitality Management, LLC., Case No. 17-cv-06832, in the United States
District Court for the Northern District of Illinois Eastern Division in connection with her
employment with Defendants GFII DVI Cardel Wood Dale, LLC dlbla Courtyard Maniott
Wood Dale and Driftwood Hospitality Management, LLC (the "Litigation"), which was
subsequently joined by Rubio. The Litigation alleges that Defendants have failed to pay
Plaintiffs due wages in violation of the Fair Labor Standards Act and the Illinois Minimum Wage
Law. Rodriguez amended her complaint on November 1,2017.

        WHEREAS, on or about August 17, 2017 Rodriguez filed a charge of discrimination
with the Equal Employment Opportunity Commission and Illinois Department of Human Rights
alleging retaliation ("Charge").

         WHEREAS the parties have conducted ceftain discovery in this Litigation, have
exchanged information; and Plaintifß and their lawyers have concluded that, in light of the
totality of the circumstances, it is in Plaintiff s best interests to resolve their claims.

       WHEREAS, the Company denies the allegations in the Lawsuit and further denies that it
has any liability to Employee of any kind.

         THEREFOR-E, Plaintiffs and Defendants (collectively, the "Parties") have now agreed to
settle the Litigation as follows:

       1.       Dismissal of the      pation and Charse Plaintiffs will voluntarily dismiss the
Litigation with prejudice and file a voluntary withdrawal of the Charge and any other pending
action within 15 business days of the Court's approval of the settlement and receipt of the
Settlement Amount (defined in Paragraph 2, below). Except for as provided in Paragraph2, each
party will bear her or its own costs and attorney's fees.

       2.       Settlement Amount. In consideration for the promises Plaintiffs are making in
this Agreement, including dismissal of the Litigation, Defendants agree to pay Plaintiffs and
their attorneys at Barlow, Kobata & Denis LLP the total gross sum of $16,000 (sixteen thousand
dollars) (the "settlement Amount") within seven (7) business days of the date of the Court's
approval of this executed Agreement. Plaintiffs acknowledge and agree that they would not be
entitled to receive the Settlement Amount if they did not make the promises that they are making
in this Agreement. The Settlement Amount, at Plaintiffs' request, shall be allocated as follows:



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                     a)     Payment ,to Rodriguez. Defendants will issue to Plaintiff Rodriguez one
            check payable to her in the amount of $5,500 less applicable withholdings, as taxable W-
            2 wages in full and complete satisfaction of any claim to unpaid wages, liquidated
            damages, and statutory penalties. Defendants will deliver Rodriguez' check to her
            attorney at Barlow, Kobata & Denis LLP, 525 West Monroe, Suite 2360, Chicago,
            Illinois 60661.

                     b)    Payment to Rubio. Defendants will issue to Plaintiff Rubio one check
            payable to her in the amount of $400 less applicable withholdings, as taxable W-2 wages
            in full and complete satisfaction of any claim to unpaid wages, liquidated damages, and
            statutory penalties. Defendants will deliver Rubio's check to her attorney at Barlow,
            Kobata & Denis LLP,525 West Monroe, Suite 2360, Chicago, Illinois 60661.

                      c)  Payment of Attorney Fees aqçLÇa¡lls. Defendants will issue and deliver to
            Barlow, Kobata & Denis LLP, 525 West Monroe, Suite 2360, Chicago, Illinois 60661, a
            check in the amount of $10,100 which is intended to cover attorneys' fees of $9,700 and
            costs of $400 associated with the Litigation and expended by that firm in pursuing the
            Litigation. Barlow, Kobata & Denis LLP will be solely responsible for paying any
            amounts due to any governmental taxing authority as a result of the payment of the
            Settlement Amount as described in Paragraph2(c).

            3. Court Approval Of Settlement. The Parties will present this Agreement to the
Court under seal seeking its approval following the Effective Date of this Agreement. If the
Court refuses to approve the settlement contained in this Agreement, this Agreement and all
terms contained herein are null and void. If this Agreement is not approved and thus rendered
null and void, neither the Agreement's existence, the terms contained herein, or any information
contained in the Motion for Approval shall be used by any Party for any purpose, either in the
pending Litigation or otherwise. Consistent with the confidentiality obligations outlined in
Paragraph 7, the Parties agree to submit the settlement for approval in camera to the Court. If
the Court nevertheless places the settlement on the record, the Parties agree to take all measures
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            4.       Full Release of Claims

                     a)         Specific Release.          It is the desire and intention of the Parties that this
            Agreement shall,     for Plaintiffs, fully, finally, and forever settle, compromise, and
            discharge the disputes and claims that Plaintiffs raised in the Litigation or Charge andlor
            that relate to the same facts alleged in the Litigation or Charge, including, but not limited
            to, claims for unpaid wages andlor overtime pay, or any other wage related damages or
            any other relief pursuant to federal, state, or local wage & hour statutes, including, but
            not limited to, the Fair Labor Standards Act, the Illinois Minimum Wage Law, the Illinois
            V/age Payment and Collection Act, as well as any claims arising under Illinois state law
            regarding rescission of contract, conversion, unjust enrichment or quantum meruit, and
            discrimination or retaliation under any local, state, or federal anti-discrimination law.

                      b)   General Release. Each Plaintiff, on behalf of herself, her heirs, executors,
            administrators, successors, and assigns voluntarily releases Defendants and their parent,

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   affiliates, subsidiaries, divisions, insurers, successors, assigns, and current and former
   employees, attorneys, offîcers, directors and agents (collectively, the "Released Parties"),
   from any and all claims, known and unknown, that Plaintiff has or may have against the
   Released Parties as of the date of execution of the Agreement, including all claims in any
   way connected with Plaintiff s employment with or termination by Defendants GFII DVI
                                                        'Wood
   Cardel Wood Dale, LLC dlbla Courtyard Marriott              Dale and Driftwood Hospitality
   Management,LLC, including the claims in the Litigation, together with all other claims,
   lawsuits or demands of any kind which Plaintiff has made or could make, whether known
   or unknown, through the date of this Agreement. The claims released by this Agreement
   include, but are not limited to, claims of tort, breach of contract, retaliation, non-
   compliance with award or judgment, payment of accrued vacation or other benefits,
   leave, harassment, public policy, discrimination on the basis of age, sex, race, national
   origin, disability or religion, or for attorney's fees. Plaintiff, on behalf of Plaintiff, her
   heirs, executors, administrators, successors, and assigns, promises and agrees that no
   lawsuit will be filed based on any claims released by this Agreement.

          If any claim is not subject to release, to the extent permitted by law, Plaintiff
   waives any right or ability to be a class or collective action representative and shall not be
   entitled to recover any individual monetary relief or other remedies in any putative or
   certihed class, collective or multi-party action or proceeding based on such a claim in
   which the Defendants or any other of the Released Parties is a party.

           c)     Vy'aiver of Ase Discriminati orVRetaliation Claims and Revocation. As to
   the waiver of any and all potential age discrimination andlor retaliation claims under the
   Age Discrimination in Employment Act ("ADEA"), Each Plaintiff further understands
   and acknowledges that she has seven (7) days following the execution of this Agreement
   to revoke the Agreement to waive potential age discrimination and/or retaliation claims
   under the ADEA. Each Plaintiff acknowledges that the portion of the Agreement that
   waives such potential age discrimination and/or retaliation claims shall not become
   effective or enforceable until the revocation period has expired and she has not exercised
   her right to revoke.

          If both Plaintiffs do not revoke, the Effective Date of this Agreement shall be the
   eighth calendar day after the parties fully execute this Agreement. If either Plaintiff
   revokes, Plaintiffs both understand and acknowledge that they will forfeit the
   consideration described in Paragraph 2. If either Plaintiff revokes this agreement, the
   entire agreement shall be deemed null and void.
          Each Plaintiff further understands that in order to revoke the waiver of age
   discrimination and/or retaliation claims under the ADEA contained in the Agreement, she
   must deliver a written and signed statement of revocation to Alejandro Caffarelli, 224
   South Michigan Avenue, Suite 300, Chicago, Illinois 60604. Each Plaintiff agrees to
   keep written documentation proving that she revoked this Agreement as provided in this
   Paragraph, either by keeping the documents signed by a representative of Caffarelli &
   Associates Ltd. attesting to the delivery of the revocation, or other verification that the
   revocation was, in fact, received by Caffarelli & Associates Ltd.. If such revocation is



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       made, this release shall become null and void and no monies or consideration     will   be paid
       hereunder.
               d) Exceptions. Nothing in this Agreement shall be construed to prohibit
       either Plaintiff from filing a charge with or participating in any investigation or
       proceeding conducted by the EEOC or any state or local agency charged with the
       enforcement of employment laws. Notwithstanding the foregoing, each Plaintiff agrees
       that she waives her right to recover monetary damages based upon claims asserted in any
       such charge, complaint or lawsuit filed by her or by anyone else on her behalf. Furlher,
       each Plaintiff is not waiving any right or claim that comes into being after the date this
       Agreement is executed, or any other claims that cannot be waived or released as a matter
       of law.

        5. Covenant Not To Sue. Each Plaintiff agrees not to encourage, initiate, participate
in or assist in any way in any individual, class or collective lawsuit against the Released Parties
for any claims that arose as of the Effective Date of this Agreement, unless compelled to do so
by law or legal process.

       6.        Affirmations by Plaintiff.      Each Plaintiff affirms that she has been paid and/or
has received all compensation, wages, bonuses, commissions, benefits any other monies due and
owing to Plaintiff resulting from her employment with Defendants GFII DVI Cardel Wood Dale,
LLC dlbla Courtyard Marriott Wood Dale and Driftwood Hospitality Management, LLC. Each
Plaintiff also affirms that all of Defendants' decisions regarding Plaintiff s pay and benefits
through the date of Plaintiff s execution of this Agreement were not discriminatory based on age,
disability, race, color, sex, religion, national origin or any other classification protected by law.

        Each Plaintiff also affirms that she has been granted any leave to which she was entitled
under the Family and Medical Leave Act or related state or local leave or disability
accommodation laws. Each Plaintiff further affirms that Plaintiff has no known workplace
injuries or occupational diseases occasioned by her employment with Defendants GFII DVI
Cardel Wood Dale, LLC dlbla Courtyard Marriott V/ood Dale and Driftwood Hospitality
Management,LLC.

        Each Plaintiff further affirms that she has not been retaliated against for reporting any
allegations of financial wrongdoing by Defendants or their offrcets, including any allegations of
corporate fraud.
        l       Confidentialitv and Non- snarasement bv Plaintiff. Each Plaintiff agrees that,
unless she is compelled to do so by law, she will not disclose to any other person any
information regarding the existence or substance of this Agreement, except that she may discuss
the terms of this Agreement with her spouse, tax advisor, or an attorney with whom Plaintiff
chooses to consult regarding her consideration of this Agreement, provided that any such
individual agrees to keep that information strictly confidential and disclose it to no other person.
Each Plaintiff affirms that she has not made any prior disclosures that, if made after signing this
Agreement, would have violated this obligation of confidentiality. Each Plaintiff further agrees
that she will not initiate or participate in any discussion or communication conceming or relating
to the Agreement, andlor the Litigation. If, and only if, another person asks Plaintiff about her
Litigation against Defendants, her response shall be limited to the following statement: "The

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matter has been dismissed." Each Plaintiff may disclose information regarding the existence or
substance of this Agreement pursuant to a subpoena served by a government agency acting in its
official capacity.

         In addition, Each Plaintiff agrees not to disparage or say or write negative things about
Defendants, their officers, directors, agents, or employees. Each Plaintiff also agrees not to
initiate or participate in any discussion or communication that reflects negatively on Defendants,
its officers, directors, agents, or employees. Each Plaintiff understands that the confidentiality of
this Agreement and this non-disparagement provision are important parts of the consideration
she is giving to Defendant in this Agreement.

       8.       No Admission of Liabilitv. This Agreement is not an admission by Defendants of
any liability whatsoever or that they have acted improperly or unlawfully in any way.

       9.        No  Further Emnlovment.          Plaintiff permanently, unequivocally, and
unconditionally waives any and all rights Plaintiff may now have, may have had in the past, or
may have in the future to obtain or resume employment with Defendants. In the event that
Plaintiff is ever mistakenly employed by Defendants, Plaintiff agrees to have her employment
terminated with no resulting claim or cause of action against Defendants.

        10                Ne                                            In addition to having the
opportunity to negotiate this Agreement, before signing it, each Plaintiff has been advised to
consult with an attorney to obtain advice about her rights and obligations under this Agreement.
Each Plaintiff represents that she has carefully read this Agreement and finds that it has been
written in language that she understands. Each Plaintiff has been given 2l days to consider
whether to accept this Agreement, and has signed it only after reading, considering and
understanding it. If Plaintiff signs this Agreement before the expiration of that 2l-day period,
she is expressly waiving her right to consider the Agreement for any remaining portion of that
 2I-day period. The Parties agree that any changes made to this Agreement from the version
originally presented to Plaintiff, whether those changes are deemed material or non-material, do
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        1   1.  Reservation of Riehts. Each Plaintiff agrees that nothing in this Agreement will
prevent Plaintiff from exercising rights under Section 7 of the National Labor Relations Act, or
from filing a charge or complaint with, reporting possible violations of any law or regulation,
making disclosures to, and/or participating in any investigation or proceeding conducted by, the
National Labor Relations Board, the Equal Employment Opportunity Commission, the
Department of Labor, the Securities and Exchange Commission, andlor any governmental
authority charged with the enforcement of any laws, provided that by signing this release
Plaintiff is waiving rights to any individual relief based on claims assefted in such a charge or
complaint, or assefted by any third-party on Plaintiffls behalf, except where such a waiver of
individual relief is prohibited by law.

        12.    Complete Agreement. This Agreement contains the complete understanding
between the parties about its subject matter, and no other promises or agreements shall be
binding unless signed by all affected parlies. In signing this Agreement, the parties are not
relying on any fact, statement or assumption not set forth in this Agreement.

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